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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

RICHARD COX :
Plaintiff : No: 3:22-cv-01209

VS.

CITY OF NEW HAVEN, OSCAR DIAZ,

BETSY SEGUI, RONALD PRESSLEY, :

JOCELYN LAVANDIER AND LUIS RIVERA — : SEPTEMBER 27, 2022

Defendants :

COMPLAINT
A. JURISDICTION AND VENUE

1. This is an action to redress the deprivation of rights secured to the plaintiff by the
Constitution and laws of the United States and the State of Connecticut.

2. Jurisdiction of this court is invoked under the provisions of Sections 1331,
1343(3) and 1367(a) of Title 28 and Sections 1983 and 1988 of Title 42 of the United States
Code.

3. Venue is proper in this court by virtue of 28 U.S.C. §1391 because the events
giving rise to the claims occurred in the District of Connecticut and at least one of the

defendants resides in the State of Connecticut.

4, The plaintiff is a citizen and adult resident in the City of New Haven, Connecticut.

 

 
 

 

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5. During all times mentioned in this Complaint, the defendants were officers in the
New Haven Police Department. They are sued in their individual capacities.

6. During alt times mentioned in this Complaint, the defendants were acting under
color of law, that is, under color of the constitution, statutes, laws, rules, regulations, customs
and usages of the State of Connecticut as well as police officers with the City of New Haven
and in the course of their employment.

f. At all times mentioned in this Complaint, the defendants acted jointly and in
concert with each other. Each defendant had the duty and the opportunity to protect the
plaintiff from the unlawful actions of the other defendants, but each defendant failed and

refused to perform such duty, thereby proximately causing the injuries herein complained of.

FIRST COUNT
B. FACTUAL ALLEGATIONS - The Traffic Event

1. On June 19, 2022, at approximately 8:04 p.m., the plaintiff Richard Cox,
(hereinafter, “Cox”) was detained and subsequently placed under arrest by one or more
officers from the New Haven Police Department.

2. At approximately 8:13 p.m., while handcuffed, officers from the New Haven
Police Department placed Cox in a police cruiser for transport to the Westchester Avenue

substation.

 

 
 

 

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3. At approximately 8:30 p.m. the defendant Oscar Diaz, (hereinafter, “Diaz”)
arrived in a New Haven Police Department transport wagon at the Westchester Avenue
substation.

4. At approximately 8:33 p.m. officers from the New Haven Police Department

moved Cox into the back of the transport wagon for transport to the detention center at 1 Union

Avenue.
5. Diaz was driving the transport van and Cox was seated in the back of the van.
6. While seated in the back of the transport van, Cox was handcuffed and had no

adequate body or safety retrains for his use.

7. While in route to the detention center, Diaz suddenly and without warning applied
his brakes resulting in the sudden stop of the transport van.

8. Cox had no warning of the impending and sudden stop resulting in his body
being violently thrown around the inside of the transport van resulting in serous and permanent

injuries.

SECOND COUNT -— Negligence as to Diaz
1-8. Paragraphs 1 through 8 of the First Count are hereby incorporated herein and

made Paragraphs 1 through 8 of this the Second Count.

 

 
 

 

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9. The injuries and damages to the plaintiff were caused by the negligence and

carelessness of the defendant Diaz in one or more of the following ways:

a.

b.

In that he applied his brakes in an abrupt and unnecessary manner;

In that he failed to maintain a reasonable and proper look out for other
vehicles on the roadway;

He failed to keep the vehicle under proper control;

He was inattentive in the operation of his vehicle;

He was operating his vehicle at an excessive rate of speed and in violation
of §14-218a and §14-219 of the Connecticut General Statutes; and

He operated his vehicle recklessly and in violation of §14-222 of the

Connecticut General Statutes.

10. Asa direct and proximate result of the defendant Diaz’ negligence and

carelessness, Cox suffered injuries and damages some or all of which may be permanent in

nature including but not limited to:

a.

b.

Cervical spine injury/fracture;

Permanent paralysis below his neck;

Contusions, abrasions and injuries to his muscles, ligaments, tendons and
bones;

Spinal cord injury;

 

 
 

 

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e. Permanent scarring;

f. Chronic and permanent respiratory condition;

g. Compromised immune system:

h. Chronic and permanent health conditions related to immobility:

i. Permanent atrophy of the muscles;
j. Shortened life expectancy; and
k. Associated physical pain and suffering.

11. Asadirect and proximate result of the aforesaid negligence and carelessness of
the defendant, Diaz, Cox has suffered and continues to suffer great physical and emotional
pain, including but not limited to mental anguish, frustration, and anxiety over the fact that he
was and remains seriously injured.

12. Asadirect and proximate result of the aforesaid negligence and carelessness of
the defendant Diaz, Cox has been limited in his ability to engage in his usual occupation as he
had prior thereto and will be so limited in the future, resulting in a loss of earnings and earning
capacity.

13. Asa further result of the negligence and carelessness of the defendant Diaz, Cox
has been limited in his ability to enjoy and engage in all of life’s activities as he had prior

thereto and may be so limited in the future.

 

 
 

 

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14. As adirect result of the negligence and carelessness of the defendant Diaz, Cox
has, and will in the future, incur expenses for hospital, physicians, physical therapy, and other

related expenses as a result of his injuries.

THIRD COUNT — Recklessness as to Diaz

1-8. Paragraphs 1 through 8 of the Second Count are hereby incorporated herein and
made Paragraphs 1 through 8 of this the Third Count.

9. The injuries and damages to the plaintiff were caused by the recklessness of the
defendant Diaz, in that he deliberately and/or with reckless disregard operated his vehicle in
violation of §14-218a, §14-219 and §14-222 of the Connecticut General Statutes and such
violations were substantial factors in causing injury to Cox.

10. As adirect and proximate result of the recklessness of defendant Diaz, Cox

suffered injuries and damages some or all of which may be permanent in nature including, but

not limited to:
a. Cervical spine injury/fracture;
b. Permanent paralysis below his neck;
Cc. Contusions, abrasions and injuries to his muscles, ligaments, tendons and

bones;

d. Spinal cord injury;

 
 

 

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e. Permanent scarring;

f, Chronic and permanent respiratory condition;

g. Compromised immune system;

h. Chronic and permanent health conditions related to immobility;

I. Permanent atrophy of the muscles;
j. Shortened iife expectancy; and
K. Associated physical pain and suffering.
11. Asa direct and proximate result of the aforesaid recklessness of the defendant
Diaz, Cox has suffered and continues to suffer great physical and emotional pain, including but
not limited to, mental anguish, frustration, and anxiety over the fact that he was and remains
injured.
12. Asa direct and proximate result of the aforesaid recklessness of the defendant
Diaz, Cox has been limited in his ability to engage in his usua! occupation as he had prior
thereto and will be so limited in the future, resulting in a loss of earnings and earning capacity.
13. As a further result of the recklessness of the defendant Diaz, Cox has been
limited in his ability to enjoy and engage in all of life’s activities as he had prior thereto and will

be so limited in the future.

 

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14. Asa direct result of the aforesaid recklessness of the defendant Diaz, Cox has,
and will in the future, incur expenses for hospital, physicians, physical therapy, and other

related expenses as a result of his injuries.

FOURTH COUNT — As to the City of New Haven

1-14. Paragraphs 1 through 14 of the Second Count are hereby incorporated herein
and made Paragraphs 1 through 14 of this the Fourth Count.

15. At the time of his operation of the New Haven Police Department transport van,
the defendant Diaz was an employee of the City of New Haven and was operating said vehicle
in the course of his employment.

16. The defendant City of New Haven is liable for the negligence and carelessness

of the defendant Diaz, pursuant to Connecticut General Statutes, §52-557n.

FIFTH COUNT - Recklessness as to the City of New Haven

1-14. Paragraphs 1 through 14 of the Third Count are hereby incorporated herein and
made Paragraphs 1 through 14 of this the Fifth Count.

15. The defendant City of New Haven is liable for the recklessness of the defendant

Diaz, pursuant to Connecticut General Statutes §52-557n.

 

 
 

 

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SIXTH COUNT — Negligence as to the City of New Haven

1-8. Paragraphs 1 through 8 of the First Count are hereby incorporated herein and
made Paragraphs 1 through 8 of this the Sixth Count.

9. The defendant, City of New Haven, through its agents and employees was

careless and negligent in one or more of the following ways:

a. It failed to properly equip the transport van with adequate passenger
restraints;
b. It failed to provide the transport van with adequate equipment to ensure

the safety of passengers;

Cc. It failed to update the safety equipment of the transport van to comply with
current equipment requirements; and

d. It failed to warn passengers of the dangerous and unsafe conditions of the
passenger section of said transport van.

10. Asa direct and proximate result of the negligence of defendant, City of New
Haven, Cox suffered injuries and damages some or all of which may .be permanent in nature
including, but not limited to:

a. Cervical spine injury/fracture;

b, Permanent paralysis below his neck;

 

 
 

 

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j.

kK.

Contusions, abrasions and injuries to his muscles, ligaments, tendons and
bones;

Spinal cord injury;

Permanent scarring;

Chronic and permanent respiratory condition;

Compromised immune system;

Chronic and permanent health conditions related to immobility;
Permanent atrophy of the muscles;

Shortened life expectancy; and

Associated physical! pain and suffering.

As a direct and proximate result of the aforesaid negligence of the defendant,

City of New Haven, Cox has suffered and continues to suffer great physica! and emotional

pain, including but not limited to, mental anguish, frustration, and anxiety over the fact that he

was and remains injured.

12.

As a direct and proximate result of the aforesaid negligence of the defendant,

City of New Haven, Cox has been limited in his ability to engage in his usual occupation as he

had prior thereto and will be so limited in the future, resulting in a loss of earnings and earning

capacity.

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13. Asa further result of the negligence of the defendant, City of New Haven, Cox
has been limited in his ability to enjoy and engage in all of life’s activities as he had prior
thereto and will be so limited in the future.

14... Asadirect result of the negligence of the defendant Diaz, Cox has, and will in the
future, incur expenses for hospital, physicians, physical therapy, and other related expenses

as a result of his injuries.

SEVENTH COUNT — 42 U.S.C. §1983 as to Defendant, Diaz, Excessive Force

1-7. Paragraphs 1 through 7 of the First Count are hereby incorporated herein and
made Paragraphs 1 through 7 of this the Seventh Count.

8. The manner of the operation of the transport van by Diaz which resulted in the
injuries and damages to Cox, constituted the use of excessive force a violation of the Fourth
and Fourteenth Amendments of the Constitution of the United States.

9. As result of the excessive use of force by the defendant Diaz, Cox suffered
injuries and damages some or all of which may be permanent in nature including, but not
limited to:

a. Cervical spine injury/fracture;

b. Permanent paralysis below his neck;

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j.

k.

Contusions, abrasions and injuries to his muscles, ligaments, tendons and
bones;

Spinal cord injury;

Permanent scarring;

Chronic and permanent respiratory condition;

Compromised immune system;

Chronic and permanent health conditions related to immobility;
Permanent atrophy of the muscles;

Shortened life expectancy; and

Associated physical pain and suffering.

10. Asadirect and proximate result of the aforesaid recklessness of the defendant,

Diaz, Cox has suffered and continues to suffer great physical and emotional pain, including but

not limited to, mental anguish, frustration, and anxiety over the fact that he was and remains

injured.

11. Asadirect and proximate result of the aforesaid recklessness of the defendant,

Diaz, Cox has been limited in his ability to engage in his usual occupation as he had prior

thereto and will be so limited in the future, resulting in a loss of earnings and earning capacity.

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12. Asa further result of the recklessness of the defendant, Diaz, Cox has been
limited in his ability to enjoy and engage in all of life’s activities as he had prior thereto and will
be so limited in the future.

13. Asadirect result of the negligence and carelessness of the defendant Diaz, Cox
has, and will in the future, incur expenses for hospital, physicians, physical therapy, and other

related expenses as a result of his injuries.

EIGHTH COUNT - 42 U.S.C. §1983 — As to Defendant Diaz — Denial of Medical Treatment

1-8. Paragraphs 1 through 8 of the First Count are hereby incorporated herein and
made Paragraphs 1 through 8 of this the Eighth Count.

9. As a result of being thrown about in the transport van, Cox was injured and so
notified Diaz, who indicated he could not pull over immediately and proceeded to drive for
approximately two (2) minutes before pulling over and stopping the transport van to check on
Cox.

10. After Diaz stopped the transport wagon, he opened the door and asked Cox what
happened to which Cox replied, “I can’t move,” after which Diaz called for an ambulance to
meet them at the Union Avenue Detention Center and Diaz then proceeded to drive to the

Detention Center.

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11. | Approximately five (5) minutes after calling for an ambulance, Diaz and Cox
arrived at the Detention Center at which time several officers removed Cox, who was unable
stand due to his injuries, from the van.

12, When Cox told Diaz that he was hurt and could not move, Diaz was bound to
immediately seek medical attention for Cox and his denial of medical treatment was a violation

of Cox’ Fourth and Fourteenth Amendment rights under the Constitution of the United States.

NINTH COUNT — Negligence as to Defendant Diaz — Failure to Provide Medical
Assistance

1-11. Paragraphs 1 through 11 of the Eighth Count are hereby incorporated herein and
made Paragraphs 1 through 8 of this the Ninth Count.

12. The defendant Diaz was negligent and careless in one or more of the following

ways:
a. In not providing immediate medical assistance;
b. In not stopping the transport van immediately to check on Cox’ wellbeing;
Cc. In not immediately rendering medical assistance;
d. In not immediately calling or an ambulance when he learned Cox might be

seriously injured;

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e.

f.

In not preventing Cox, who told him he could not move, from moving until
emergency response personnel arrived; and
In not remaining at a stop after learning that Cox might be seriously

injured.

13. Asadirect and proximate result of the defendant, Diaz’ aforementioned

negligence and carelessness, Cox suffered injuries and damages some or all of which may be

permanent in nature including, but not limited to:

a.

b.

Cervical spine injury/fracture;

Permanent paralysis below his neck;

Contusions, abrasions and injuries to his muscles, ligaments, tendons and
bones;

Spinal cord injury;

Permanent scarring;

Chronic and permanent respiratory condition;

Compromised immune system;

Chronic and permanent health conditions related to immobility;
Permanent atrophy of the muscles;

Shortened life expectancy; and

Associated physical pain and suffering.

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14. As adirect and proximate result of the defendant, Diaz’ aforementioned
negligence and carelessness, Cox has suffered and continues to suffer great physical and
emotional pain, including but not limited to, mental anguish, frustration, and anxiety over the

fact that he was and remains injured.

TENTH COUNT — Negligence as to the City of New Haven — Conn. Gen. Stat. §52-557n

1-14. Paragraphs 1 through 14 of the Ninth Count are hereby incorporated herein and
made Paragraphs 1 through 14 of this the Tenth Count.

15. Atall times relevant hereto, the defendant Diaz was an employee of the City of
New Haven and was in the scope of his employment.

16. The defendant, City of New Haven is vicariously liable for the aforesaid

negligence of Diaz pursuant to Connecticut General Statute §52-557n.

ELEVENTH COUNT - 42 U.S.C. §1983 — As to Oscar Diaz, Betsy Sequi, Ronald Pressley,
Jocelyn Lavandier and Luis Rivera — Excessive Force

1-8. Paragraphs 1 through 8 of the First Count are hereby incorporated herein and

made Paragraphs 1 through 8 of this the Eleventh Count.

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9. Upon Diaz’ arrival at the Detention Center, the defendants, Oscar Diaz, Betsy
Segui, Ronald Pressley, Jocelyn Lavandier and Luis Rivera, were present and once again Cox
indicated several times that he could not move and thinks he broke his neck.

10. Despite Cox’ pleas, the defendants attempted to move Cox and place him in a
wheelchair to be processed and eventually dragged him to a cell by his shoulder while still in
handcuffs. .

11. | The foregoing actions of defendants constituted a use of excessive force in
violation of Cox’ Fourth and Fourteenth Amendment rights under the Constitution of the United
States.

12. Asa direct and proximate result of the aforesaid actions of the defendants, Cox

suffered injuries and damages some or all of which may be permanent in nature including but

not limited to:
a. Cervical spine injury/fracture;
b. Permanent paralysis below his neck;
Cc. Contusions, abrasions and injuries to his muscles, ligaments, tendons and

bones;
d. Spinal cord injury;
e. Permanent scarring;

f. Chronic and permanent respiratory condition:

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g. Compromised immune system;

h. Chronic and permanent health conditions related to immobility;
i. Permanent atrophy of the muscles;

j. Shortened life expectancy; and

k. Associated physical pain and suffering.

13. Asadirect and proximate result of the aforesaid actions of the defendants, Cox
has suffered and continues to suffer great physical and emotional pain, including but not
limited to mental anguish, frustration, and anxiety over the fact that he was and remains
seriously injured.

14. Asadirect and proximate result of the aforesaid actions of the defendants, Cox
has been limited in his ability to engage in his usual occupation as he had prior thereto and will
be so limited in the future, resulting in a loss of earnings and earning capacity.

15. Asa further result of the aforesaid actions of the defendants, Cox has been
limited in his ability to enjoy and engage in all of life’s activities as he had prior thereto and may
be so limited in the future.

16. Asadirect result of the aforesaid actions of the defendants, Cox has, and will in
the future, incur expenses for hospital, physicians, physical therapy, and other related

expenses as a result of his injuries.

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TWELFTH COUNT — 42 U.S.C. §1983 Denial of Medical Treatment — As to Oscar Diaz,
Betsy Segui, Ronald Pressley, Jocelyn Lavandier and Luis Rivera

1-10. Paragraphs 1 through 10 of the Eleventh Count are hereby incorporated herein
and made Paragraphs 1 through 10 of this the Twelfth Count.

11. The foregoing actions of the defendants constituted a denial of medical treatment
for a serious injury in violation of Cox’ Fourth and Fourteenth Amendment Rights under the
constitution of the United States.

12. Asadirect and proximate result of the aforesaid actions of the defendants, Cox

suffered injuries and damages some or all of which may be permanent in nature including but

not limited to:
a. Cervical spine injuryAracture;
b. Permanent paralysis below his neck;
Cc. Contusions, abrasions and injuries to his muscles, ligaments, tendons and

bones;

d. Spinal cord injury;

e. Permanent scarring;
f. Chronic and permanent respiratory condition;
g. Compromised immune system;

h. Chronic and permanent health conditions related to immobility;

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i. Permanent atrophy of the muscles;
j. Shortened life expectancy; and
k. Associated physical pain and suffering.

13. Asa direct and proximate result of the aforesaid actions of the defendants, Cox
has suffered and continues to suffer great physical and emotional pain, including but not
limited to mental anguish, frustration, and anxiety over the fact that he was and remains
seriously injured.

14. As adirect and proximate result of the aforesaid actions of the defendants, Cox
has been limited in his ability to engage in his usual occupation as he had prior thereto and will
be so limited in the future, resulting in a loss of earnings and earning capacity.

15. Asa further result of the aforesaid actions of the defendants, Cox has been
limited in his ability to enjoy and engage in all of life’s activities as he had prior thereto and may
be so limited in the future.

16. Asa direct result of the aforesaid actions of the defendants, Cox has, and will in
the future, incur expenses for hospital, physicians, physical therapy, and other related

expenses as a result of his injuries.

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THIRTEENTH COUNT — 42 U.S.C. §1983 — As to Oscar Diaz, Betsy Sequi, Ronald
Pressley, Jocelyn Lavandier and Luis Rivera

1-10. Paragraphs 1 through 10 of the Twelfth Count are hereby incorporated herein
and made Paragraphs 1 through 10 of this the Thirteenth Count.

11. At all relevant times, the defendants, Oscar Diaz, Betsy Sequi, Ronald Pressley,
Jocelyn Lavandier and Luis Rivera, were agents, servants, or employees of the defendant, City
of New Haven and its Police Department, acting in their official capacities and under color of
State law.

12. Atall pertinent times during the events subject to this action, the constitutional!
rights of Cox were being violated in the presence of each of the defendants.

13. Atall pertinent times during the events previously set forth each of the
defendants failed to intercede on behalf of Cox whose constitutional rights were being violated.

14. At all pertinent times previously set forth the defendants had a realistic
opportunity to intervene and to prevent the injuries sustained by Cox from occurring and failed
to do so.

15. Asadirect and proximate cause of each of the defendants’ failure to intervene,
Cox suffered the following injuries:

a. Cervical spine injury/fracture;

b, Permanent paralysis below his neck;

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16.

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j.

kK.

Contusions, abrasions and injuries to his muscles, ligaments, tendons and
bones;

Spinal cord injury;

Permanent scarring;

Chronic and permanent respiratory condition;

Compromised immune system;

Chronic and permanent health conditions related to immobility;
Permanent atrophy of the muscles;

Shortened life expectancy; and

Associated physical pain and suffering.

As a direct and proximate result of the aforesaid failure to intervene of the

defendants, Cox has suffered and continues to suffer great physical and emotional pain,

including but not limited to mental anguish, frustration, and anxiety over the fact that he was

and remains seriously injured.

17.

As a direct and proximaie result of the aforesaid failure to intervene of the

defendants, Cox has been limited in his ability to engage in his usual occupation as he had

prior thereto and will be so limited in the future, resulting in a loss of earnings and earning

capacity.

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18. Asa further result of the aforesaid failure to intervene of the defendants, Cox has
been limited in his ability to enjoy and engage in all of life’s activities as he had prior thereto
and may be so limited in the future.

19. As adirect result of the aforesaid failure to intervene of the defendants, Cox has,
and will in the future, incur expenses for hospital, physicians, physical therapy, and other

related expenses as a result of his injuries.

FOURTEENTH COUNT — Intentional Infliction of Emotional Distress — As to Oscar Diaz,
Betsy Sequi, Ronald Pressley, Jocelyn Lavandier and Luis Rivera

1-11. Paragraphs 1 through 11 of the Eleventh Count are hereby incorporated herein
and made Paragraphs 1 through 10 of this the Fourteenth Count.

12. The aforementioned actions by defendants, Oscar Diaz, Betsy Segui, Ronald
Pressley, Jocelyn Lavandier and Luis Rivera, were intentional, willful and deliberate and
caused Cox to suffer from severe emotional distress, which the defendant officers knew or
should have known would have resulted from their actions.

13. Said conduct was extreme and outrageous and was the cause of Cox’ distress
and the emotional distress sustained by Cox was and will continue to be severe. As a result of

the defendants, Oscar Diaz, Betsy Segui, Ronald Pressley, Jocelyn Lavandier and Luis

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Rivera's aforesaid actions, Cox suffered and will continue to suffer damages as set forth

above.

FIFTEENTH COUNT — Assault as to Oscar Diaz, Betsy Sequi, Ronald Pressley, Jocelyn
Lavandier and Luis Rivera

1-11. of the Eleventh Count are hereby incorporated herein and made Paragraphs 1
through 10 of this the Fifteenth Count.

12. The aforesaid actions of the defendants constituted an assault of the plaintiff Cox
for which he sustained personal injuries and damages some of which will be permanent.
SIXTEENTH COUNT — Battery as to Oscar Diaz, Betsy Sequi, Ronald Pressley, Jocelyn
Lavandier and Luis Rivera

1-11. Paragraphs 1 through 11 of the Eleventh Count are hereby incorporated herein
and made Paragraphs 1 through 11 of this the Sixteenth Count.

12. The aforesaid actions of the defendants constituted a battery of the plaintiff Cox

for which he sustained personal injuries and damages some of which will be permanent.

SEVENTEENTH COUNT — Negligence against Oscar Diaz, Betsy Sequi, Ronald Pressley,
Jocelyn Lavandier and Luis Rivera

1-11. Paragraphs 1 through 11 of the Eleventh Count are hereby incorporated herein

and made Paragraphs 1 through 11 of this the Seventeenth Count.

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12. The defendants were negligent and careless in one or more of the following

ways:

Cc.

d.

They failed to provide immediate medical attention;

They moved Cox when they knew or should have known it was dangerous
to do so;

They failed to promptly call for medical attention; and

They failed to respond appropriately to Cox’ complaints of serious injury.

13. Asa direct and proximate cause of each of the defendants’ negligence and

carelessness, Cox suffered the following injuries:

a.

b.

Cervical spine injury/fracture;

Permanent paralysis below his neck;

Contusions, abrasions and injuries to his muscles, ligaments, tendons and
bones;

Spinal cord injury;

Permanent scarring;

Chronic and permanent respiratory condition:

Compromised immune system;

Chronic and permanent health conditions related to immobility;

Permanent atrophy of the muscles;

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J. shortened life expectancy; and
k. Associated physical pain and suffering.

14. Asadirect and proximate result of the aforesaid negligence and carelessness of
the defendants, Cox has suffered and continues to suffer great physical and emotional pain,
including but not limited to mental anguish, frustration, and anxiety over the fact that he was
and remains seriously injured.

15.  Asadirect and proximate result of the aforesaid negligence and carelessness of
the defendants, Cox has been limited in his ability to engage in his usual occupation as he had
prior thereto and will be so limited in the future, resulting in a loss of earnings and earning
capacity.

16. Asa further result of the negligence and carelessness of the defendants, Cox
has been limited in his ability to enjoy and engage in all of life’s activities as he had prior
thereto and may be so limited in the future.

17.  Asadirect result of the negligence and carelessness of the defendant Diaz, Cox
has, and will in the future, incur expenses for hospital, physicians, physical therapy, and other

related. expenses as a result of his injuries.

EIGHTEENTH COUNT — Negligence as to City of New Haven

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1-16. Paragraphs 1 through 16 of the Seventeenth Count are hereby incorporated
herein and made Paragraphs 1 through 16 of this the Eighteenth Count.

17. At all times relevant hereto the defendants, Oscar Diaz, Betsy Segui, Ronald
Pressley, Jocelyn Lavandier and Luis Rivera, were acting within the scope of their employment
as police officers employed by the City of New Haven.

18. The defendant, City of New Haven is liable for the negligence of the defendants,
Oscar Diaz, Betsy Segui, Ronald Pressley, Jocelyn Lavandier and Luis Rivera, pursuant to
Connecticut General Statutes §52-557n.

NINETEENTH COUNT — Indemnification, Connecticut General Statutes §7-465 as to City
of New Haven

1. On or about June 19, 2022, the defendants, Oscar Diaz, Betsy Segui, Ronald
Pressley, Jocelyn Lavandier and Luis Rivera, were a police officer employed by the City of
New Haven and were at all times acting within the scope of his/her employment.

2. The City of New Haven is legally liable to pay on behalf of each and every
defendant all sums awarded for violations of Cox’ civil rights and/or for any personal injuries
and damages from the actions of its employees, which have resulted in injuries to Cox,

pursuant to Connecticut General Statutes §7-465.

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3.

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Statutory notice of the plaintiff's claims and intention to bring this action was sent

to the City of New Haven in accordance with Connecticut General Statutes §7-465 on July 1,

2022, a copy of which is attached as Exhibit A.

C. PRAYER FOR RELIEF

WHEREFORE, the plaintiff respectfully requests the following relief:

A.

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Compensatory damages from each defendant;
Punitive damages from each defendant;
Attorney's fees pursuant to 42 U.S.C. §1988:
Costs; and

Such other and further relief as the Court may deem proper.

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THE PLAINTIFF, RICHARD COX

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